Case 1:24-cr-10084-AK Documenti-1 Filed 04/09/24 Pagelof2

&JS 45 (5/97) - (Revised U.S.D.C. MA 9/20/2023)

Criminal Case Cover Sheet U.S, District Court - District of Massachusetts
Place of Offense: Category No. I Investigating Agency HS!

City Westwood Related Case Information:

County Norfolk same Defendant New Defendant

Magistrate Judge Case Number
Search Warrant Case Number
R 20/R 40 from District of

Is this case related to an existing criminal action pursuant to Rule [| Yes | No
40.1(h)? If yes, case number

22-5305-JGD; 22-1492-DLC

Defendant Information:

Defendant Name Stavros Papantoniadis Juvenile: [J Yes [Y] No
Is this person an attorney and/or a member of any state/federal bar: [| Yes |f| No

Alias Name: Steve Papantoniadis

Address: Westwood, MA

Birth date (Yr only): 1975 SSN (last 4#): 9684 Sex: Ms Race Nationality: United States

Defense Counsel if known: Carmine Lepore Address: One Sprague Street

Bar Number: 564603 Revere, MA 02151

U.S. Attorney Information

AUSA; Brian A. Fogerty Bar Number if applicable: [L Bar No. 6296388
Interpreter: [| Yes lV] No List language and/or dialect:

Victims: [Z|] Yes [_]No _ Ifyes, are there multiple crime victims under 18 USC§3771(4)(2) [_] Yes [WY] No
Matter to be SEALED: [J Yes lv] No

[| Warrant Requested [ | Regular Process In Custody

Location Status: | Wyatt

Arrest Date: 3/16/2023

Already in Federal Custody as of 3/16/2023 in Wyatt .

[| Already in State Custody at [| Serving Sentence [| Awaiting Trial
[] On Pretrial Release: | Ordered by: on

Charging Document: [] Complaint [| Information Indictment

Total # of Counts: [_ |Petty [_|Misdemeanor Felony 2

Continue on Page 2 for Entry of U.S.C. Citations

Thereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
accurately set forth above.

Date: 4/9/2024 Signature of AUSA: c .

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JS 45 (5/97) (Revised U.S.D.C. MA 9/20/2023) Page 2 of 2 or Reverse

Page 2 of 2

District Court Case Number (To be filled in by deputy clerk):

Name of Defendant | otavros Papantoniadis

U.S.C. Citations
Index Key/Code Description of Offense Charged

18 U.S.C. § 1343 Wire Fraud

Set |

Count Numbers

cay 18. U.S.C. § 1343 Wire Fraud

Set 3

Set 4

Set 5

Set 6

Set 7

Set 8

Set 9

Set 10

Set 11

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION:

23-5171-JGD; 23-5177-JGD

Additional search warrants: 23-5166-JGD; 23-5167-JGD; 23-5168-JGD; 23-5169-JGD; 23-5170-JGD;

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